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          Professionalism Committee
    Wayne State University School of Medicine




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       Section 1.0: By-Laws of the Faculty Senate Governing the Standing Committees

The following is an excerpt from the by-laws of the Faculty Senate summarizing the role of the
Standing Committees of the Faculty Senate, including the Promotions Committee.


                                     Article IV. Committees


SECTION II. Standing Committees:

These committees will be the following: Faculty Information Technology, Curriculum, Graduate
Affairs, Library, Student Promotions, Budget Advisory, and Research Development. Members of
each committee will be appointed by the President of the Senate with the advice and consent of the
Executive Committee. Each committee shall develop a set of operating procedures, subject to
approval by the Executive Committee, which will govern its activities. The Admissions Committee
serves as a joint administrative committee. The Executive committee makes recommendations to
the Dean for this committee.
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                     Section 2.0: Charge of the Professionalism Committee

In accordance with LCME Standard 3.5 (Learning Environment/Professionalism),
the Professionalism Committee is the institutional entity that ensures the ongoing development of
explicit and appropriate professional behaviors in medical students. The committee identifies
positive and negative influences on the maintenance of professional standards, develops and
conducts appropriate strategies to enhance positive and mitigate negative influences, and identifies
and promptly corrects violations of professional standards. Its authority originates by delegated
powers from the School of Medicine Faculty Executive Committee (by-laws of the Faculty: Article
IV. Committees, Section II).

The Professionalism Committee is charged with development of professional values, attitudes,
skills, and behaviors for medical students that continue throughout their career as a physician. The
core professionalism values and attributes, which are part of the academic requirements of the
M.D. program, are set forth a page 9 of this document. Through its management and oversight, the
Professionalism Committee ensures an environment which fosters the professional development,
correction and remediation of behaviors deemed to be unprofessional in the undergraduate program
leading to the Medical Doctor (M.D.) degree at the Wayne State University School of Medicine
and beyond.

The Professionalism Committee is an oversight and decision making entity. The major
responsibility of the committee is to shape medical students’ professional growth through the
school’s four year longitudinal curriculum that promotes positive interactions with faculty,
residents, patients, patients’ families, other health care providers, clerical personnel, and peers.
Appropriate and mature behavior is expected by students both on and off campus. Instances where
students violate either the Professionalism core value and attributes or the Student Code of Conduct
are referred to the Professionalism Committee.


                       Section 3.0: Role of the Professionalism Committee

       Monitor reports of medical students’ unprofessional behavior and promote the development
       of professionalism.
       Conduct investigations of all reports of unprofessional student conduct referred to the
       committee.
       Convene formal hearings at the behest of the committee chair to determine whether a
       student is in violation of either the professionalism core values and attributes or of the
       Student Code of Conduct.
       Following a formal hearing, the committee may determine a remediation. If remediation is
       rejected the committee forwards case to Promotions Committee.

Relative to the School of Medicine Faculty Senate, the Professionalism Committee is a sub-
committee of the Promotions Committee. Accordingly, any appeal of a Professionalism Committee
decision is made to the Promotions Committee for definitive disposition. The Professionalism
Committee may use any and all disciplinary sanctions but cannot dismiss students from the medical
school. The committee adjudicates professional breaches through appropriate means including
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referral to the Promotions Committee who may dismiss medical students.
The School of Medicine Professionalism Committee will conform to the due process procedures of
the Wayne State University Student Code of Conduct and the guidelines for implementing the
Student Code of Conduct as adopted by the School of Medicine.
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                        Section 4.0: Membership of the Professionalism Committee

The Professionalism Committee is composed of 13 appointed voting members.

Chair:
The Chair of the Professionalism Committee is appointed by the Vice Dean for Medical Education

Members:
Eight (8) voting Faculty members are appointed by the School of Medicine’s Executive Committee of the
Faculty Senate.

Four (4) students, one from each of the four classes are appointed by the Student Senate. Student Senate shall
appoint an alternate from each of the four classes.

Term limits:
Faculty members are appointed for 2 or 3 year terms.

Quorum
The faculty must comprise the majority of the quorum.

Voting
A simple majority vote of faculty members is necessary approve any motion by the Professionalism
Committee. Student committee members cast an advisory vote. The Chair will cast a deciding vote in the event
of a tie. The Associate Dean for Undergraduate Medical Education will serve in the capacity of
Professionalism Committee Chair in the event that the Chair must be recused from a case.
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                                 Members
                        Professionalism Committee
                  Chair
                  Mary Morreale, MD
                  Faculty Senate Appointees (Voting Members)
                  Joshua Collins, MD
                  Sarkis Kouyoumjian, MD
                  William Kupsky, MD
                  Robert Lasley, PhD
                  Diane Levine, MD
                  Bharati Mitra, PhD
                  Noreen Rossi, MD
                  Paul Walker, PhD
                  Student Representatives (Advisory Voting Members)
                  Jessica DeLeeuw, Class of 2021
                  Hashem Boalbanat, Class of 2022
                  Katherine Brown, Class of 2023
                  TBD, Class of 2024
                  Alt. Student Representatives (Non-voting Members)
                  Elizabeth Nesbitt, Class of 2021
                  Mustapha Choucair, Class of 2022
                  Jawad Bouhamdan, Class of 2023
                  TBD, Class of 2024
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                                     Section 5.0: Misconduct Process


                Due Process for Academic Misconduct for cases preceding referral to
                                 Professionalism Committee Chair


         Unprofessional behavior reported to Assistant Dean of Student Affairs (or his/her
        designee), Assistant Dean of Basic Sciences, or Assistant Dean of Clinical Sciences




                Fact finding by Assistant Dean of Student Affairs (or his/her designee),
                Assistant Dean of Basic Sciences, or Assistant Dean of Clinical Sciences




Assistant Dean of Student Affairs,        Assistant Deans of Student Affairs, Basic        No further action
    Basic Sciences, or Clinical           Sciences, or Clinical Sciences file charges
Sciences recommends remediation           with Chair of Professionalism Committee
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           Section 5.0: Misconduct Process (continued)

                 Due Process for Academic and Non-Academic Misconduct for cases referred to
                                         Professionalism Committee


                                           Charges filed with the Chair of
                                            Professionalism Committee



                              Fact finding by the Chair of Professionalism Committee




Student found in violation and remediation recommended or formal             No further action
   hearing convened by the Chair of Professionalism Committee




                                 Remediation accepted and case resolved; or if
                                    remediation rejected, student chooses



                                                                   Informal disciplinary conference convened
Formal hearing with Professionalism Committee        - OR -
                                                                      by Assistant Dean of Student Affairs




Remediation by Professionalism Committee                        Final remediation is determined by the Assistant
                                                                    Dean of Student Affairs without appeal



 Remediation accepted        Remediation rejected
   and case resolved



                        Appeal to Promotions Committee
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                        Section 6.0: Professional Values and Attributes

 Professional Values and Attributes
 Appropriate, law-abiding behavior is expected, as is adherence to the general policies regarding
 behavior and conduct enumerated elsewhere by Wayne State University (For example, see the
 Student Code of Conduct, which can be accessed online at http://www.doso.wayne.edu/
 Student-conduct/index.html). Listed here are the values and attributes that are at the core of
 Professionalism at the School of Medicine:

    1. Professional Responsibility: Sound medical practice and good medical care of patients
       are the student’s and the physician’s highest priority. The student shall be internally
       motivated at all times and in all settings to place the patient’s concerns before his or her
       own. He or she will always help to create a positive learning environment, be
       appropriately dressed (see the WSUSOM dress code), be punctual and prepared, and
       attend all required activities in their entirety. The student is to be reliable and honest in
       completing all tasks.

    2. Competence and Self-Improvement: It is the expectation that students will be
       committed to the learning and mastery of medical knowledge, skills, attitudes, and
       beliefs. The motivation for this learning is the optimal care of future patients. The student
       will know the limits of his or her abilities and appropriately seek help to improve the care
       of patients while continuously expanding his or her knowledge base. This commitment
       extends to life-long learning; an acknowledgement that what begins in the university
       community never ends as long as the physician is committed to the practice of medicine.

    3. Respect for others and professional relationships: Medical students always respect
       their patients as individuals. Student-patient interactions are guided by the “golden rule”.
       That is do unto others as you would have them do unto you and your family. There is
       respect for the patient’s dignity, privacy, cultural values, and confidentiality. Students
       demonstrate sensitivity, respect, compassion, emotional support, and empathy at all
       times—to patients, patients’ families, other health care team members, and peers. In this
       context, a fundamental component of professionalism is altruism; putting the best
       interests of patients and colleagues over self-interest. Respect and altruism are attributes
       that must extend outside of the classroom or clinical setting as the student is a constant
       representative of the School of Medicine and of the profession itself.

    4. Honesty including academic integrity: Medical students are committed to honesty at all
       times. This commitment extends from the classroom or laboratory in the preclinical
       curriculum to the ward, office, examination room, or operating room in his or her training
       environment. Absolute honesty in written notes entered into patient’s records and in oral
       presentation of findings is expected; medical findings are true, complete, and verifiable.
       Honesty during test taking is required for both written and practical examinations. This
       attribute includes the responsibility for reporting the dishonesty of others. As with other
       core values, honesty is not limited to the School of Medicine and its teaching affiliates.
       The public expects honesty in its physicians as much as the School of Medicine expects it
       in its students.
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 Section 6.0: Professional Values and Attributes (continued)

    5. Personal responsibility: The student is responsible for maintaining his or her own health
       and wellness. Drug and alcohol abuse are prohibited. Tobacco use is strongly
       discouraged. Students are expected to seek care as needed to maintain physical and
       mental health. The student should freely access his or her counselor for help in managing
       health or personal issues that are negatively impacting academic performance in medical
       school. Students need to be proactive in recognizing those of their peers who are affected
       by drug abuse, alcohol abuse, or other personal issues detrimental to health, well-being,
       and/or safety, their safety, or the safety of patients. Students with such concerns about
       their peers should notify a Medical School counselor, a faculty member, or administrator.

    6. Social responsibility: Societies place physicians in positions of power and authority.
       Physicians and medical students must always conduct themselves in a manner to be
       worthy of that trust. Medical students must demonstrate concern for and responsiveness
       to social ills and other factors which detract from the medical, cultural, spiritual, and
       emotional health of society.



              Section 7.0: Appeal of Decisions of the Professionalism Committee

 Students have the right to appeal decisions of the Professionalism Committee. In order to appeal
 decision, the following must occur:
    1. A student must present a written statement to the Chair of the Promotions Committee
        within 10 business days from the time the decision has been communicated to the
        student.

    2. The appeal letter must clearly state the specific nature of the appeal and contain
       supporting facts.

    3. Appeals must contain new information not originally brought before the Professionalism
       Committee for its consideration.

    4. The Chair of the Promotions Committee will schedule a hearing before the Promotions
       Committee for consideration of the student’s appeal and will provide the Committee with
       the student’s written appeal and the decision letter of the Professionalism Committee.

    5. The student will be asked to appear before the Promotions Committee, will beintroduced
       to the Committee members, will be permitted to summarize her/her situation to the
       Promotions Committee and may be asked questions by the Promotions Committee.

    6. In the process of considering the student’s appeal, the Promotions Committee will also
       evaluate the student’s entire academic record to date, which includes the following:

               Pre-entry data and medical school transcript information
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               Performance data from the current academic year
               Information regarding any student issues which appear to have impaired academic
               or professional performance.

    7. An official letter of the decision of the Promotions Committee will be provided tothe
       student.

    8. A decision by the Promotions Committee on an appeal of a decision of the
       Professionalism Committee is a final decision that is not appealable unless the
       Promotions Committee makes a decision to dismiss the student, in which case the student
       can appeal the dismissal decision to the Provost of the University by writing a letter tothe
       Provost within 30 calendar day of the postmark of the SOM’s final decision, and by
       providing a copy to the Dean of the Medical School. The procedures for appeals to the
       Provost can be found at: https://provost.wayne.edu/academic-policy.
